               UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF WISCONSIN

 UNITED STATES OF AMERICA,

                            Plaintiff,               Case No. 16-CR-135-JPS
 v.

 TYTIANNA M. JACKSON and
 MARQUISE D. JONES,
                                                                     ORDER
                            Defendants.

       On December 22, 2016, the government filed a motion to reassign case

number 16-CR-165, involving the defendants Jaylen Campbell and Roman

Whyte, to this Court. (Docket #37). Criminal Local Rule 13 sets the

requirements for such reassignment motions in this District, and the

government’s motion meets each of those requirements. In sum, the four

defendants in these two cases participated jointly in a robbery on August 1,

2016, which is the basis for the charges against each. Id. at 2. Further, none of

the defendants have offered any opposition to the motion. The Court will,

therefore, find that these cases are related, grant the government’s motion,

and reassign case number 16-CR-165 from Judge Lynn Adelman to this

branch of the Court. Criminal L. R. 13(c).

       Accordingly,

       IT IS ORDERED that the government’s motion to reassign (Docket

#37) be and the same is hereby GRANTED; the Clerk of the Court is directed

to effectuate reassignment of case number 16-CR-165 to this branch of the

Court in accordance with the Local Rules.




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     Dated at Milwaukee, Wisconsin, this 1st day of February, 2017.

                               BY THE COURT:




                               J.P. Stadtmueller
                               U.S. District Judge




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